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                      UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION



UNITED STATES OF AMERICA                     NO. CR 05-0375 SI

            Plaintiff,                       STIPULATION AND [PROPOSED]
                                             TRAVEL ORDER
       v.

BRIAN LY, et al.,

          Defendants.
_________________________________/


       THE UNDERSIGNED PARTIES HEREBY STIPULATE and agree that

defendant Brian Ly may travel outside the Northern District of

California, from January 13, 2006 through January 16, 2006, to

the South Lake Tahoe area.        Prior to travel, defendant Brian Ly

agrees to provide Pretrial Services with his itinerary and

contact information, including, the address where he will be

staying and a telephone number where he can be reached.

       Pretrial Services Officer Betty Kim advised that she has

no objection to the requested travel plans, under the conditions

proposed herein.

/S/JAMES BUSTAMANTE                    /S/ANDREW M. SCOBLE
JAMES BUSTAMANTE                       ANDREW M. SCOBLE
Attorney for Defendant LY              Assistant U.S. Attorney
Dated: December 21, 2005               Dated: December 21, 2005


       IT IS SO ORDERED.


       Dated: 1/9/06

                                       HONORABLE NANDOR J. VADAS
                                       U.S. Magistrate Judge
